Name and address:
     Case 2:24-cv-01009-SPG-SK Document 30-1 Filed 04/09/24 Page 1 of 1 Page ID #:151
JONATHAN D. HACKER
jhacker@omm.com
O'MELVENY & MYERS LLP
1625 Eye Street, NW
Washington, DC 20006




                                                    UNITED STATES DISTRICT COURT
                                                   CENTRAL DISTRICT OF CALIFORNIA
                                                                                  CASE NUMBER
GINA CARANO,
                                                                                                    2:24-cv-0 1009-SPG-SK
                                                               Plaintiff( s)
                                       v.
THEW ALT DISNEY COMPANY, LUCASFILM LTD. LLC,                                           (PROPOSED) ORDER ON APPLICATION
and HUCKLEBERRY INDUSTRIES (US) INC.,                                                OF NON-RESIDENT ATTORNEY TO APPEAR
                                                            Defendant(s).                IN A SPECIFIC CASE PRO HAC VICE

The Court, having determined whether the required fee has been paid, and having reviewed the
Application of Non-Resident Attorney to Appear in a Specific Case Pro Hae Vice filed by
Hacker, Jonathan D.                                                              of O'Melveny & Myers LLP
Applicant's Name (Last Name, First Name & Middle Initial)                           1625 Eye Street, NW
+1202383 5300                           +1202383 5414                               Washington, DC 20006
Telephone Number                            Fax Number
jhacker@omm.com
                              E-Mail Address                                         Firm/Agency Name & Address

 for permission to appear and participate in this case on behalf of
The Walt Disney Company
Lucasfilm Ltd. LLC
Huckleberry Industries (US) Inc.
Name(s) of Party(ies) Represented                                              D Plaintiff(s) [8] Defendant(s) D Other:
and designating as Local Counsel
Petrocelli, Daniel M.                                                            of O'Melveny & Myers LLP
Designee's Name (Last Name, First Name & Middle Initial)                            1999 Avenue of the Stars
        97802                   +l 310 553 6700          +1310 246 6779             8th Floor
Designee's Cal. Bar No.         Telephone Number           Fax Number
                                                                                    Los Angeles, California 90067-6035
dpetrocelli@omm.com
                                E-Mail Address                                       Firm/Agency Name & Address

 HEREBY ORDERS THAT the Application be:
      GRANTED.
 D DENIED: D for failure to pay the required fee.
           D for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.
           D for failure to complete Application:
           D pursuant to L.R. 83-2.1.3.2: D Applicant resides in California; D previous Applications listed indicate Applicant
                       is regularly employed or engaged in business, professional, or other similar activities in California.
                     D pursuant to L.R. 83-2.1.3.4; Local Counsel: D is not member ofBar of this Court; D does not maintain office in District.
                     D because----------------------------------
 IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid:                                             be refunded   not be refunded.

 Dated
                                                                                         U.S. District Judge/U.S. Magistrate Judge
G-64 ORDER (5/16)         (PROPOSED) ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE        Page 1 ofl
